     Case 4:20-cv-00921-O Document 11 Filed 10/02/20              Page 1 of 1 PageID 30



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

DEBBIE GIBSON,                                §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §     Civil Action No. 4:20-cv-00921-O-BP
                                              §
POLICE OF RIVERWORTH,                         §
TEXAS, et al.,                                §
                                              §
       Defendants.                            §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. No objections were filed, and the Magistrate Judge’s Recommendation is ripe for

review. The Court has reviewed the proposed Findings, Conclusions, and Recommendation for

plain error. Finding none, the Court believes that the Findings and Conclusions of the Magistrate

Judge are correct, and they are accepted as the Findings and Conclusions of the Court.

       Accordingly, it is ORDERED that the Plaintiff’s Application to Proceed in District Court

Without Prepaying Fees or Costs (ECF No. 3) is DENIED, and this case is DISMISSED

WITHOUT PREJUDICE.

       SO ORDERED this 2nd day of October, 2020.




                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
